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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

JUAN LUIS WEBBER                                  '
                                                  '
                                                  '
VS.                                               '                  Civil Action No. 7:25-cv-00095
                                                  '
HOME DEPOT U.S.A., INC. dba HOME                  '
DEPO and HERMAN ROQUE OCHOA                       '                            JURY DEMANDED

             DEFENDANT HOME DEPOT U.S.A., INC.’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        COMES NOW, HOME DEPOT U.S.A., INC. Improperly named Home Depot U.S.A., Inc.

dba Home Depo (“Home Depot”), and files this its Notice of Removal on the basis of diversity

jurisdiction pursuant to 28 U.S.C. § 1332 et. seq., 28 U.S.C. § 1441 et. seq., and 28 U.S.C. § 1446 et.

seq., and would respectfully show the Court as follows:

        1.      Home Depot is a Defendant in a civil action pending in the 476th Judicial District

Court of Hidalgo County, Texas entitled Juan Luis Webber v. Home Depot U.S.A., Inc. dba Home

Depot and Herman Roque Ochoa; Cause No. C-0490-25-M (hereinafter referred to as the “State

Court Action”). An Index of State Documents Filed with the Notice of Removal is attached hereto

as Exhibit A, and true and correct copies of all process, pleadings, and orders served upon Home

Depot in the State Court Action are attached hereto as Exhibit B, as required by 28 U.S.C. § 1446(a).

        2.      The State Court Action was filed on January 30, 2025. Home Depot was served with

the Original Petition on February 5, 2025. In the Original Petition, Plaintiff alleges that on or

about January 9, 2024, he and his wife were shopping for fire alarms at Home Depot #506, located

at 409 N. Jackson Road, Pharr, Hidalgo County, Texas 78501 when a large heavy box fell on him.




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        3.      Plaintiff’s Original Petition stated that she is seeking monetary relief over

$1,000,000.00. See Exhibit B-2 ¶ 2. Thus, it is facially apparent from Plaintiff’s Original Petition

that Plaintiff is seeking damages in excess of $75,000, such that the amount in controversy

requirement for diversity jurisdiction is satisfied.

        4.      This Notice of Removal is timely filed by Home Depot within thirty (30) days of

service upon it of the first pleading or other paper from which it could be determined that the amount

in controversy is in excess of $75,000, exclusive of costs. See 28 U.S.C. § 1446(b).

                                   DIVERSITY OF CITIZENSHIP

        5.      Plaintiff Juan Luis Webber is a citizen of the State of Texas.

        6.      Home Depot is and was at the time of the alleged incident and the filing of this lawsuit,

a corporation incorporated under the laws of the State of Delaware with its principal place of business

in Atlanta, Georgia. Home Depot is thus a citizen of the States of Delaware and Georgia.

        7.      Consequently, Plaintiff and Home Depot are now, and were at the time this action

commenced, diverse in citizenship from each other.

                                        IMPROPER JOINDER

        8.      Defendant Herman Roque Ochoa (“Ochoa”) is a citizen of Texas. However, Plaintiff

improperly joined Ochoa as a defendant solely to defeat diversity jurisdiction, as there is absolutely

no possibility that Plaintiff will be able to establish a cause of action against Ochoa in state court.

Burden v. General Dynamics Corp., 60 F.3d 213, 217 (5th Cir. 1995).

        9.      To establish improper joinder, the removing party must prove: “(1) actual fraud in the

pleading of jurisdictional facts, or (2) inability of the plaintiff to establish a cause of action against the

non-diverse party in state court.” Travis v. Irby, 326 F.3d 644, 647 (5th Cir. 2003) (citing Griggs v.

State Farm Lloyds, 181 F.3d 694, 698 (5th Cir. 1999). Home Depot alleges that Ochoa was improperly




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joined under the second method. Under that method, the test for improper joinder “is whether the

defendant has demonstrated that there is no possibility of recovery by the plaintiff against an in-state

defendant, which stated differently means that there is no reasonable basis for the district court to

predict that the plaintiff might be able to recover against an in-state defendant.” Smallwood v. Ill.

Cent. R.R. Co., 385 F.3d 568, 573 (5th Cir. 2004). In resolving this issue, the court may pierce the

pleadings and consider summary judgment-type evidence in those cases in which the “plaintiff has

stated a claim, but has misstated or omitted discrete facts that would determine the propriety of

joinder[.]” Id.

        10.       Ochoa is not alleged to have been a premises owner or occupier of the Home Depot

store at the time the cause of action accrued or at the time of removal, or at any time. Moreover,

Plaintiff does not allege that Ochoa caused the box to fall or that anything Ochoa did caused or

contributed to this injury complained about. Instead, Plaintiff only makes the allegation that Ochcoa

failed to render appropriate aid and refused to contact 911. See Exhibit B-2, ¶ 14.

        11.       These allegations, even if true, provide no basis for the assertion of any cognizable

claims against Ochoa. Texas law rarely imposes a duty to aid an injured party except on the

individual who caused the injury. See Abalos v. Oil Dev. Co. of Tex., 544 S.W.2d 627, 633 (“[I]f

a party negligently creates a dangerous situation it then becomes his duty to do something about

it. On the other hand, it may be said generally, as a matter of law, that a mere bystander who did

not create the dangerous situation is not required to become the good Samaritan and prevent injury

to others.”) (internal ellipses and quotation marks omitted) (citing Buchanan v. Rose, 159 S.W.2d

109, 110 (Tex. 1942)); Applebaum v. Nemon, 678 S.W.2d 533, 535 (Tex. Ct. App. 1984) (“Deeply

rooted in the common law is the doctrine that a person owes no duty to render aid to one for whose

initial injury he is no liable.”), writ ref'd n.r.e.; Potter v. 24 Hour Fitness USA Inc., No. 3:12-CV-




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453-P, 2014 WL 11633691, at *4 (N.D. Tex. June 6, 2014), aff'd, 597 F. App'x 796 (5th Cir. 2015).

        12.     The Texas Supreme Court has held that individual liability on the part of an employee

“only arises when the officer or agent owes an independent duty of reasonable care to the injured

party apart from the employer’s duty.” Leitch v. Hornsby, 935 S.W.2d 114, 117 (Tex. 1996) (emphasis

added). Additionally, the Texas Supreme Court has held that, in a premises liability case, individual

employees are not liable for negligence when they do not breach any separate duty to the plaintiff.

Tri. v. J.T.T., 162 S.W.3d 552 (Tex. 2005). These holdings have also been applied to the removal of

premises liability cases to federal district court. See e.g., Gonzalez v. Wal-Mart Stores, 2010 WL

1417748 (W.D. Tex. March 31, 2010); Painter v. Amerimex Drilling I, Ltd., 561 S.W.3d 125, 131

(Tex. 2018); Palmer v. Wal-Mart Stores, Inc., 65 F. Supp. 2d 564 (S.D. Tex. 1999); and Koger v.

Wal-Mart Stores Texas, LLC, the plaintiff sued the store manager of Wal-Mart. No. 1:09-CV-125-

C, 2009 WL 10703186 (N.D. Tex. Sept. 22, 2009. In Gonzalez, the plaintiff sued a retailer and its

manager in state court, alleging a premises liability claim. The retailer removed, arguing that the

manager was improperly joined, and the plaintiff filed a motion to remand. The Court held that the

manager, as a Wal-Mart employee, did not owe a customer, such as the plaintiff, a duty of reasonable

care independent from the duty Wal-Mart owed, and denied the motion to remand. Id. at *2. In

Palmer, plaintiff asserted claims against the store manager of a Sam’s Club, but there were no

allegations that the manager owed any independent duty of reasonable care, apart from that which

his employer owed any store patron. Id. There were no allegations that the store manager committed

any intentional torts or the like against the plaintiff. Id. On the contrary, the plaintiff merely claimed

that the store manager was negligent in allowing a premises defect to exist in the Sam’s Club store.

Hence, the Court held that “Plaintiff simply alleges that [the store manager] is liable for some action

plainly committed within the course and scope of his employment as a Sam’s Club manager. In




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light of the controlling Leitch precedent, the joinder of Mr. Ainsworth for purposes of defeating

diversity jurisdiction borders on being sanctionable.” Id. at 567 (emphasis added).

         13.    Similarly, in Koger v. Wal-Mart Stores Texas, LLC, the plaintiff sued the store

manager of Wal-Mart. No. 1:09-CV-125-C, 2009 WL 10703186 (N.D. Tex. Sept. 22, 2009). The

question was whether the store manager might reasonably have owed plaintiff a duty of care

independent from Wal-Mart’s. Id. In holding that the store manager was improperly joined, the Court

stated that “if Shoemate were not the store manager, he would not have owed Koger any duty of care

to warn of or correct hazards on Wal-Mart’s premises. Accordingly, the duty was solely Wal-Mart’s,

and any breaches by its employees only constitute breaches by Wal-Mart acting through its agents.”

Id. at *1. See also McKinney v. Home Depot U.S.A., Inc., 2006 WL 2947324 (N.D. Tex. Oct. 13,

2006).

         14.    Plaintiff has explicitly alleged that Ochoa was working in the course and scope of his

employment in committing the acts/omissions upon which the negligence claims against him are

based, and Home Depot does not dispute that Ochoa was working in the course and scope of his

employment at any relevant time. Ochoa cannot be individually liable to Plaintiff based upon a

negligence theory, and there is no reasonable basis for this Court to predict that Plaintiff might be able

to recover against Ochoa. In sum, Ochoa is an improperly joined party to this case.

         15.    Because removal is premised on improper joinder, the individual defendant need not

consent to removal, and his citizenship is disregarded when determining diversity jurisdiction.

         16.    Under 28 U.S.C. § 1446(a), venue of the removed action is proper in this Court as it

is the district and division embracing the place where the State Court Action is pending.

         17.    Pursuant to 28 U.S.C. § 1446(d), Home Depot will promptly give written notice of

the filing of this notice of removal to Plaintiff and will further file a copy of this Notice of Removal




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with the District Clerk of Hidalgo County, Texas, where the action was previously pending.

        18.    Jury Demand – Home Depot hereby requests trial by jury on all issues and claims in

this action.

        WHEREFORE, HOME DEPOT U.S.A., INC. Improperly named Home Depot U.S.A., Inc.

dba Home Depo hereby removes the case pending in the 476th Judicial District Court of Hidalgo

County, Texas entitled Cause No. C-0490-25-M; Juan Luis Webber v. Home Depot U.S.A., Inc. dba

Home Depot and Herman Roque Ochoa, and respectfully requests that this Court assume full

jurisdiction of this proceeding for all purposes as if originally filed in this Court including, but not

limited to, issuing any orders necessary to stay proceedings in the State Court Action.

                                       Respectfully submitted,

                                       BROTHERS, ALVARADO, PIAZZA & COZORT, P.C.


                                       By:     /s/ Karen M. Alvarado_______
                                               Karen M. Alvarado
                                               Attorney-in-Charge
                                               State Bar No. 11067050
                                               Federal ID No. 10880
                                               10333 Richmond, Suite 900
                                               Houston, Texas 77042
                                               (713) 337-0750 - Telephone
                                               (713) 337-0760 – Facsimile
                                               service-alvarado@brothers-law.com *
                                               *All service pursuant to TRCP 21 on Ms. Alvarado
                                               must be to this email or it will be considered invalid

                                               Attorneys for Defendants




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                              CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document was
served upon the following counsel of record in compliance with Rule 5 of the Federal Rules of
Civil Procedure on this the 5th day of March, 2025, as follows:

         Raymond L. Thomas                              Ezequiel Reyna, Jr.
         Olegario Garcia                                LAW OFFICES OF
         RAY THOMAS, PC                                 EZEQUIEL REYNA, JR., P.C.
         4900-B North 10th Street                       702 W. Expressway 83, Suite 100
         McAllen, Texas 78504                           Weslaco, Texas 78596


                                    BROTHERS, ALVARADO, PIAZZA & COZORT, P.C.

                                    By:   /s/ Karen M. Alvarado_______
                                          Karen M. Alvarado




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